JS 44 (Rev. 04/21)                 Case 5:24-cv-01085-XR Document
                                                     CIVIL COVER1-1 Filed 09/26/24 Page 1 of 3
                                                                  SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
                                                                                                         City of San Antonio, Texas and Jesus Saenz, in his capacity
         SOUTHWEST AIRLINES CO.
                                                                                                         as Director of Airports for the City of San Antonio, Texas
   (b) County of Residence of First Listed Plaintiff             Dallas                                  County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         See attachment                                                                                  See attachment

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product            Product Liability             690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                                or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 2201
VI. CAUSE OF ACTION Brief description of cause:
                                       Declaratory relief that Defendants' actions violate the Supremacy Clause and the Airline Deregulation Act, 49 U.S.C. § 41713(b).
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
9/26/2024                                                            /s/ Mark Sessions
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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To be Filed)


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